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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov

IN RE:                                                             Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al.,1                              Case No.: 22-17842-PDR

      Debtors.                                                     (Jointly Administered)
_______________________________________/

                DEBTORS’ AGREED EX PARTE MOTION TO CONTINUE
             DECEMBER 6, 2022, EVIDENTIARY HEARING TO CONSIDER DIP
                     MOTION AND ATTENDANT DEADLINES

         Vital Pharmaceuticals, Inc., Bang Energy Canada, Inc., JHO Intellectual Property

Holdings, LLC, JHO Real Estate Investment, LLC, Quash Seltzer, LLC, Rainbow Unicorn Bev

LLC and Vital Pharmaceuticals International Sales, Inc. (collectively, the “Debtors”), by and

through their undersigned counsel, pursuant to Local Rules 5071-1 and 9013-1(C)(8), move the

Court, on an ex parte basis, for the entry of an agreed order continuing the evidentiary hearing

scheduled for December 6, 2022 at 10:00 a.m. (the “Evidentiary Hearing”), to consider the

Debtors’ Emergency Motion for Interim and Final Orders (I) Approving Postpetition Financing,

(II) Authorizing Use of Cash Collateral, (III) Granting Liens and Providing Superpriority

Administrative Expense Status, (IV) Granting Adequate Protection, (V) Modifying Automatic Stay,

(VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “DIP Motion”) [ECF No.

24], and the deadlines related thereto for the filing of (i) replies to the objections filed by Faith

Technologies Incorporated [ECF No. 256], HACI Mechanical Contractors, Inc. [ECF No. 259],




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 The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’
federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc.
(5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC
(9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital
Pharmaceuticals International Sales, Inc. (8019).



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the Office of the United States Trustee [ECF No. 267], Monster Energy Company [ECF No. 411],

Stellar Group, Inc. [ECF No. 412], and the Committee (as defined below) [ECF No. 413]

(collectively, the “DIP Objections”), (ii) objections to the admissibility of any proposed exhibits

or to any deposition transcripts; and (iii) a bilateral stipulation of uncontested facts, and state:

                                      Jurisdiction and Venue

         1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             Background

         3.     On October 10, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the Bankruptcy Code.

         4.     The Debtors are operating their business and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         5.     On October 11, 2022, the Court entered an order jointly administering the Debtors’

chapter 11 cases [ECF No. 43].

         6.     On November 1, 2022, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors (the “Committee”) in these chapter 11 cases [ECF No. 245].

         7.     On the Petition Date, the Debtors filed the DIP Motion. On October 13, 2022, the

Court conducted a hearing to consider the DIP Motion and thereupon entered an Interim Order (I)

Approving Postpetition Financing, (II) Authorizing Use of Cash Collateral, (III) Granting Liens

and Providing Superpriority Administrative Expense Status, (IV) Granting Adequate Protection,

(V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief

[ECF No. 120].




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         8.    On November 9, 2022, the Court entered an Order Setting Evidentiary Hearing and

Establishing Related Deadlines [ECF No. 298], which, inter alia, scheduled the Evidentiary

Hearing on the DIP Motion for Tuesday, December 6, 2022 at 10:00 a.m., and set deadlines of (i)

November 28, 2022 at 5:00 p.m. to file and serve objections to the DIP Motion; (ii) December 2,

2022 at 5:00 p.m. for the filing of replies to the DIP Objections; (iii) November 29, 2022 for the

parties to exchange and file witness lists, and for the filing of motions pursuant to Fed. R. Bankr.

P. 9017 for any parties seeking to have witnesses appear remotely; (iv) December 1, 2022 at 4:00

p.m. to submit and exchange exhibits pursuant to Interim Local Rule 9070-1; (v) December 2,

2022 at 4:00 p.m. for the filing of objections to the admissibility of any proposed exhibit or to any

deposition transcripts, including any recording (audio or video) or summary thereof (collectively,

the “Objection to Exhibits”); and (vi) December 2, 2022, at 4:00 p.m. for the filing of a bilateral

stipulation of uncontested facts (the “Stipulation of Facts”).

         9.    As set forth above, DIP Objections were filed by Maricopa County Treasurer [ECF

No. 220], Faith Technologies Incorporated [ECF No. 256], HACI Mechanical Contractors, Inc.

[ECF No. 259], the Office of the United States Trustee [ECF No. 267], Monster Energy Company

[ECF No. 411], Stellar Group, Inc. [ECF No. 412], and the Committee [ECF No. 413]. In addition,

Orange Bang, Inc. and The American Bottling Company each filed joinders to Monster Energy

Company’s objection to the DIP Motion [ECF Nos. 414 and 415, respectively].

                                         Relief Requested

         10.   By this Motion, the Debtors request the Court to continue the December 6, 2022

Evidentiary Hearing to December 19, 2022 at 10:00 a.m., and further request the Court to continue

the deadlines of (i) December 2, 2022 at 4:00 p.m. for the filing of Objections to Exhibits, to

December 15, 2022 at 4:00 p.m.; (ii) December 2, 2022 at 4:00 p.m. for the filing of a Stipulation




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of Facts to December 15, 2022 at 4:00 p.m., and (iii) December 2, 2022 at 5:00 p.m. for the filing

of replies to the DIP Objections, to December 15, 2022 at 4:30 p.m.

         11.    The Debtors, Truist Bank, as Administrative Agent (“Truist Bank”), and the parties

who filed the DIP Objections have been engaged in good faith negotiations regarding resolution

of the DIP Objections. The Debtors believe that the parties have made meaningful progress to

resolve some of the DIP Objections. The Debtors desire additional time resolve the remaining

issues with Truist Bank and the DIP Lenders.

         12.    Accordingly, the Debtors believe that a continuance of the Evidentiary Hearing to

consider the DIP Motion is necessary.

         13.    The Committee’s proposed counsel has advised that the Committee does not object

to the relief requested herein. In addition, counsel for the U.S. Trustee, Monster Energy Company,

Stellar Group, Inc., Faith Technologies Incorporated, HACI Mechanical Contractors, Inc., Orange

Bang, Inc., American Bottling Company, Maricopa County Treasurer and Truist Bank, have all

advised that they do not object to the requested continuance and extension of deadlines to file

Objections to Exhibits and a Stipulation of Facts, as requested herein. Further, as required by Local

Rule 5071-1(C), the undersigned counsel certifies that the Debtors consent to a continuance of the

Evidentiary Hearing to December 19, 2022, and an extension of the deadlines to file Objections to

Exhibits and a Stipulation of Facts.

         14.    This is the Debtors’ first request for a continuance of the Evidentiary Hearing, and

no party will be prejudiced by the granting of this Motion.

         WHEREFORE, the Debtors respectfully request the Court to enter an agreed order, in the

form attached hereto as Exhibit A, (i) granting this Motion; (ii) continuing the December 6, 2022

Evidentiary Hearing on the DIP Motion to December 19, 2022 at 10:00 a.m., (iii) extending the

December 2, 2022 at 4:00 p.m. deadline to file Objections to Exhibits and a Stipulation of Facts to


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December 15, 2022 at 4:00 p.m.; (iii) extending the December 2, 2022 at 5:00 p.m. deadline for

the filing of replies to the DIP Objections to December 15, 2022 at 4:30 p.m.; and (iv) granting

such other and further relief as the Court deems just and proper.

Dated: December 2, 2022                                Respectfully submitted,
       Miami, Florida
                                                       /s/ Jordi Guso
George A. Davis (admitted pro hac vice)                Jordi Guso
Tianjiao (“TJ”) Li (admitted pro hac vice)             Florida Bar No. 863580
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                                                    EXHIBIT A




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    In re:                                                            Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,2                             Case No. 22-17842-PDR

             Debtors.                                                 (Jointly Administered)
                                                                  /

         AGREED EX PARTE ORDER GRANTING DEBTORS’ AGREED EX PARTE
          MOTION TO CONTINUE DECEMBER 6, 2022 EVIDENTIARY HEARING
                     AND EXTEND ATTENDANT DEADLINES

             THIS MATTER having come before the Court upon the Debtors’ Agreed Ex Parte Motion

to Continue December 6, 2022 Evidentiary Hearing and Extend Attendant Deadlines [ECF No.

___] (the “Motion”) filed on December 2, 2022, by the above-captioned debtors-in-possession.

The Court, having considered the Motion, having noted that (i) the Committee3, (ii) the Office of

the United States Trustee, (iii) Monster Energy Company, (iv) Faith Technologies Incorporated,

(v) HACI Mechanical Contractors, Inc., (vi) Stellar Group, Inc., (vii) Maricopa County Treasurer,

(viii) American Bottling Company, and (iv) Truist Bank, as administrative agent, consent to the

relief requested in the Motion, and finding good cause to continue the Evidentiary Hearing. It is

             ORDERED that:




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  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO
Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
(6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).

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    Capitalized terms used but not defined herein shall have the meanings ascribed in the Motion.

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         1.    The evidentiary hearing to consider the Debtors’ Emergency Motion for Interim

and Final Orders (I) Approving Postpetition Financing, (II) Authorizing Use of Cash Collateral,

(III) Granting Liens and Providing Superpriority Administrative Expense Status, (IV) Granting

Adequate Protection, (V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII)

Granting Related Relief (the “DIP Motion”) [ECF No. 24], is continued from December 6, 2022

at 10:00 a.m. to December 19, 2022 at 10:00 a.m., U.S. Courthouse, 299 E. Broward

Boulevard, Courtroom 301, Fort Lauderdale, FL 33301.

         2.    The deadline for the filing of any objections to the admissibility of any proposed

exhibit or to any deposition transcripts, including any recording (audio or video) or summary

thereof, is extended to December 15, 2022 at 4:00 p.m. Any objections filed pursuant to this

paragraph must be filed and served, so as to be received, no later than December 15, 2022 at 4:00

p.m., and must (a) identify the exhibit, (b) state the grounds for the objection, and (c) provide

citations to case law and other authority in support of the objection. An objection not so made −

except for one under Federal Rule of Evidence 402 or 403 − is waived unless excused by the Court

for good cause.

         3.    The deadline for the filing of a bilateral stipulation of uncontested facts is extended

to December 15, 2022 at 4:00 p.m. Counsel for all parties must sign the stipulation of uncontested

facts. The failure of counsel to prepare and submit the bilateral stipulation may result in sanctions.

This paragraph does not apply if any party is self-represented.

         4.    The deadline for filing and serving replies to the DIP Objections is extended to

December 15, 2022 at 4:30 p.m.




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         5.     All other terms and conditions set forth in the Order Setting Evidentiary Hearing

and Establishing Related Deadlines [ECF No. 298], with the exception of the above, shall remain

in full force and effect.

                                             #   #   #

Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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